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                            UNITED STATES DISTRICT COURT
 7
                                  DISTRICT OF ARIZONA
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10   Cox Airparts LLC, a Kansas limited              Case No.: CV 21-02213-PHX-SRB
11   liability company;
                                                     ORDER
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               Plaintiff,
13
14    v.
15
     Bruce Brown, in his individual capacity
16   d/b/a Arizona Aircraft Accessories; Kevin
17   Brown, in his individual capacity, d/b/a
18   Arizona Aircraft Accessories; Arizona
     Aircraft Accessories LLC, Michael Polve,
19
     in his individual capacity, and MJP
20   Services, LLC, an Arizona Limited
21   Liability Company; Warrior Enterprises,
     Inc.,
22
23             Defendants.

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25         This matter having come before the Court on Plaintiff Cox Airparts, LLC’s,
26   Motion for Alternative Service (the “Motion”) (Doc. 7), and the Court having
27   considered Plaintiff’s Motion, the Court finds that personal service of process upon
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 1   Defendants Kevin Brown, Michael Polve, and MJP Services, LLC, in this action has
 2   proven impracticable.
 3         Based upon the foregoing, and good cause appearing therefor:
 4         IT IS ORDERED that Plaintiff may serve Defendant Kevin Brown, by First
 5   Class U.S. Mail sent to 662 W ASTER CT, CHANDLER, AZ 85248;
 6         IT IS FURTHER ORDERED that Plaintiff may serve Defendants Michael
 7   Polve, and MJP Services, LLC in this action by First Class U.S. Mail sent to 11261 E
 8   Stearn Ave, Mesa AZ 85212;
 9         IT IS FURTHER ORDERED that Plaintiff email the Summons, Complaint,
10   the Declaration of Richard Cox and a copy of this Order to Kevin Brown and Michael
11   Polve; and
12         IT IS FURTHER ORDERED that Plaintiff shall file with the Court evidence
13   of mailing a copy of the Summons, Complaint, Declaration of Richard Cox with
14   exhibits, and this Order to each Defendant served by First Class U.S. Mail.
15                Dated this 1st day of March, 2022.
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